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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. 23-cr-257 (TSC)
                                                *
 DONALD J. TRUMP,                               *
                                                *
                Defendant.                      *
                                                *

       GOVERNMENT’S UNOPPOSED MOTION FOR A PROTECTIVE ORDER
       PURSUANT TO THE CLASSIFIED INFORMATION PROCEDURES ACT

       The United States of America, by and through the undersigned attorneys, respectfully

moves the Court pursuant to Section 3 of the Classified Information Procedures Act, 18 U.S.C.

App. 3, for the entry of the attached protective order to govern the handling, use, and storage of

classified national security documents and information to be produced in discovery in this matter.

The defendant, through counsel, does not object to the proposed order.



                                                    Respectfully submitted,

                                                    JACK SMITH
                                                    Special Counsel

                                             By:    /s/Thomas P. Windom
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